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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:12CR33
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
ALEJANDRO OLVERA-MARTINEZ,                      )
                                                )
                      Defendant.                )


       This matter is before the court on the motion for an extension of time by defendant
Alejandro Olvera-Martinez (Olvera-Martinez) (Filing No. 98). Olvera-Martinez seeks additional
time in which to file pretrial motions in accordance with the progression order. Olvera-Martinez's
counsel represents that Olvera-Martinez will file an affidavit wherein he consents to the motion
and acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Olvera-Martinez's counsel represents that government's counsel has
no objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Olvera-Martinez's motion for an extension of time (Filing No. 98) is granted.
Olvera-Martinez is given until on or before December 3, 2012, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between November

5, 2012, and December 3, 2012, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 5th day of November, 2012.
                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
